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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


     ORDER GRANTING CURLING PLAINTIFFS’ MOTION TO SEAL
        THEIR REPLY IN SUPPORT OF THEIR MOTION FOR
     PRELIMINARY INJUNCTION AND SUPPORTING MATERIALS

      Good cause having been shown, it is hereby ordered that the Curling

Plaintiffs’ Motion to Seal their Reply in Support of their Motion for Preliminary

Injunction and Supporting Materials [Doc. 523] is GRANTED.

      The redacted portions of the Reply (Doc. 510), the redacted portions of the

Declaration of J. Alex Halderman (Doc. 510-1), the Declaration of Catherine L.

Chapple (Doc. 510-4), and the entirety of the filed Exhibits A - C (Docs. 510-5,

510-6, 510-7) shall remain sealed from public view.

       IT IS SO ORDERED this 13th day of August, 2019.


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                                      Hon. Amy Totenberg
                                      United States District Judge
